Filed 04/27/15                                  Case 14-15853                                                Doc 14



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           11    (Represented Creditors listed herein
                 and on signature page)
           12

           13                       IN THE UNITED STATES BANKRUPTCY COURT
           14
                                           EASTERN DISTRICT OF CALIFORNIA
           15
                                                        FRESNO DIVISION
           16
                 In the Matter of                              Case No. 14-15853
           17

           18    BEDFORD CARE GROUP, INC.,                     Chapter 7

           19                         Debtor.                  D.C. No. ALC-1
           20
                                                               MEMORANDUM OF POINTS &
           21                                                  AUTHORITIES IN SUPPORT OF EX
                                                               PARTE APPLICATION FOR ORDER
           22                                                  AUTHORIZING RULE 2004
                                                               EXAMINATION OF STEPHANIE
           23
                                                               COSTA
           24
                                                               [Ex Parte Application; no hearing required.
           25                                                  Proposed Order lodged concurrently
                                                               herewith.]
           26
           27                                                  HONORABLE FREDRICK E. CLEMENT

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                  MEMORANDUM OF POINTS & AUTHORITIES IN SUPPORT OF EX PARTE APPLICATION FOR ORDER
                             AUTHORIZING RULE 2004 EXAMINATION OF STEPHANIE COSTA
Filed 04/27/15                                    Case 14-15853                                                  Doc 14



            1    I.     INTRODUCTION
            2           Creditors Juliet Delos Reyes, Nilo Delos Reyes, Mercy Pineda, Julito Pineda, Gabriel
            3    Roque, Nerissa Roque, Henry Alsisto, Esther Alsisto, Cherilyn Linguete, Ronald Linguete,
            4    and Yolanda Austriaco (together, “Creditors”) seek to examine Debtor Bedford Care Group’s
            5    former President, CEO, and shareholder, Stephanie Costa regarding the Debtor’s assets and
            6    property; the sale or transfer of the Debtor’s assets and property; the Debtor’s actions leading
            7    up to and following the filing of Bedford’s bankruptcy petition; the Debtor’s liabilities and
            8    financial condition; the nature and extent of the Debtor’s relationship with the two companies
            9    now operating the Debtor’s former care homes and any insiders; and any other matters that
           10    may affect the administration of the Debtor’s estate. Because the Creditors’ proposed exam
           11    falls well within the broad scope and purpose of Rule 2004 of the Federal Rules of
           12    Bankruptcy Procedure, the Creditors’ application should be granted.
           13    II.    PROCEDURAL HISTORY AND BACKGROUND FACTS
           14           The Debtor operated a residential care home business called Bedford Care Group
           15    (“Bedford”). Bedford’s business included operations at the following six locations within the
           16    Fresno and Clovis area: 1115 E. Pinehurst in Fresno (the “Pinehurst” facility); 272 W.
           17    Everglade in Clovis (the “Everglade” facility); 2617 E. Shea Drive in Fresno (the “Shea”
           18    facility); 2380 E. El Paso, in Fresno (the “El Paso” facility); 2657 E. Skyview Avenue in
           19    Fresno (the “Skyview” facility); and 2846 E. Jon Drive in Fresno (the “Jon” facility). See
           20    Declaration of Gina Szeto, below, (“Szeto Decl.”) at ¶ 9, Ex. D.
           21           The Debtor’s residential care business was a family affair. Stephanie Costa was the
           22    Debtor’s President and shareholder. Stephanie Costa’s mother, Alice Hayes, was the
           23    Debtor’s Secretary. Stephanie Costa’s father, Stephen Costa, was the Debtor’s Chief
           24    Financial Officer. Szeto Decl. at ¶ 6, Ex. A.
           25           The Creditors were employees who worked as caregivers in Bedford’s care homes at
           26    various times between May 2008 and April 2013. On February 19, 2013, the Creditors filed
           27    individual wage and hour claims with the California Labor Commissioner’s Division of Labor
           28    Standards Enforcement (“DLSE”) against Bedford. Id. at ¶ 3. Shortly thereafter, the Labor
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Filed 04/27/15                                     Case 14-15853                                                 Doc 14



            1    Commissioner’s Bureau of Field Enforcement (“BoFE”) initiated an investigation into the
            2    Debtor and Ms. Costa’s pay practices. Id.
            3            On or about April 25, 2013, based in large part on the information provided by the
            4    Creditors, BoFE issued five citations against the Debtor and Stephanie Costa, individually.
            5    The citations include unpaid wage, overtime, and meal and rest break premiums payable by
            6    statute to the Creditors. Id. at ¶ 4. See Lab. Code Section 558(a)(3); 1197.1(a)(3). The
            7    Debtor and Stephanie Costa appealed the citations. Id. at ¶ 5.
            8            The administrative appeal hearing regarding the citations was originally scheduled for
            9    early November 2013. That date was postponed and the first half of the administrative appeal
           10    hearing regarding the citations ultimately took place from January 27 to February 5, 2014.
           11    The second half of the hearing took place on June 16-17, and June 23-26, 2014.1 Id.
           12            In mid-October 2013, a few weeks before the citation hearing was originally
           13    scheduled to begin, papers were filed with the California Secretary of State to create two new
           14    residential care home companies called Clear View Retirement Group, LLC (“Clear View”)
           15    and Copper River Retirement Group, LLC (“Copper River”). Id. at ¶ 7, Ex. B. Stephanie
           16    Costa is designated as the agent of service of process for both entities. Id. Alice Hayes is the
           17    CEO, President, Vice-President, Secretary and Treasurer for both entities. Id. at ¶ 8, Ex. C.
           18            In August 2014, Copper River and Clear View applied for licenses to run all six of the
           19    former Bedford care home facilities. Id. at ¶ 9, Ex. D. Notwithstanding the change in the
           20    name of the operating company, the day to day operations of the care homes have reportedly
           21    remained unchanged. Id. at ¶ 10, Ex. E.
           22            The Debtor filed its Chapter 7 petition in the instant case on December 8, 2014.
           23            On December 12, 2014, the Labor Commissioner issued its decision upholding over
           24    $665,000 in unpaid wages and other penalties owed to the Creditors and the state pursuant to
           25    the contested citations. Id. at ¶ 11.
           26            The first meeting of Creditors in this case was held on January 15, 2015. Due to time
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                         The Creditors’ individual wage and hour claims were put on hold to allow the citations
           28    case to proceed first. Id. at ¶ 5.           3
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Filed 04/27/15                                    Case 14-15853                                                     Doc 14



            1    constraints, the meeting was continued to February 27, 2015 before the Creditors had an
            2    opportunity to question the Debtor. Id. at ¶ 12. The Trustee subsequently postponed the
            3    February 27, 2015 meeting and re-calendared it for March 27, 2015 at 10 a.m. Id. Because
            4    of confusion about the start time, however, the Debtor appeared on March 27, 2015 at 9 a.m.
            5    and refused to stay for the scheduled 10 a.m. meeting. As such, the Creditors have not yet
            6    had any meaningful opportunity to examine the Debtor. Id.
            7    III.     ARGUMENT
            8             Pursuant to Rule 2004(a) of the Federal Rules of Bankruptcy Procedure, the Court
            9    may order the examination of any entity on the motion of a party in interest. FED. R. BANKR.
           10    P. 2004(a). Rule 2004(c) allows movants to compel the production of documents in
           11    connection with the examination. FED. R. BANKR. P. 2004(c). An order for a Rule 2004
           12    examination may also be granted ex parte. In re Dinubilo, 177 B.R. 932, 943 (E.D. Cal.
           13    1993).
           14             Rule 2004(b) provides that a Rule 2004 examination may relate to “the acts, conduct,
           15    or property, or to the liabilities and financial condition of the debtor, or to any matter which
           16    may affect the administration of the debtor’s estate.” FED. R. BANKR. P. 2004(b). Consistent
           17    with this expansive language, courts have repeatedly recognized that “the scope of a Rule
           18    2004 examination is exceptionally broad and provides few of the procedural safeguards found
           19    in Federal Rule of Civil Procedure 26. [Citation omitted]. Examinations under Rule 2004 are
           20    allowed for the ‘purpose of discovering assets and unearthing frauds’ and have been
           21    compared to a ‘fishing expedition.’” In re North Plaza LLC, 395 B.R. 113 n.9 (Bankr. S.D.
           22    Cal. 2008); see also In re Subpoena Duces Tecum, 461 B.R. 823, 829 (Bankr. C.D. Cal. 2011)
           23    (“The scope of a 2004 examination is ‘unfettered and broad’ and is akin to a fishing
           24    expedition.”); In re GHR Energy Corp., 33 B.R. 451, 453-54 (Bankr.D. Mass. 1983) (same).
           25    The limiting parameter of a Rule 2004 examination is the proscription against its use for
           26    purposes of abuse or harassment, issues properly raised on a motion to quash. See In re
           27    Mittco, Inc. 44 B.R. 25 (Bankr. E.D. Wis. 1984); see also 9 COLLIER ON BANKRUPTCY, ¶
           28    2004.02[2], at pp. 2004-6 to 2004-7 (Alan N. Resnick & Henry T. Sommer, eds., 16th ed.).
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Filed 04/27/15                                    Case 14-15853                                                  Doc 14



            1           Here, the Creditors respectfully request an order authorizing them to issue a subpoena
            2    to examine Stephanie Costa, the Debtor’s former president, CEO, and shareholder. The
            3    purpose of the examination and related document requests is to investigate the Debtor’s
            4    assets, property, liabilities, actions, and financial condition, through one of the Debtor’s key
            5    decision makers and principals. Stephanie Costa’s involvement as an administrator and agent
            6    for Clear View and Copper River, the two new corporate entities now running the Debtor’s
            7    former care home businesses, also raises questions about the proper transfer and management
            8    of the Debtor’s assets and property, as well as the exact nature of the Debtor’s relationship
            9    with Clear View, Copper River, Stephanie Costa, and her family members. The
           10    entanglements between Stephanie Costa, her mother Alice Hayes, the Debtor, and the two
           11    new companies, warrant investigation in relation to potential voidable transfers and/or
           12    fraudulent activity which could affect the administration of the Debtor’s estate.
           13    IV.    CONCLUSION
           14           This application is made in good faith and reasonable. The request also falls well-
           15    within the permissible scope and purpose of Rule 2004. The Creditors’ application should
           16    therefore be granted.
           17
                               27 2015
                 DATED: April ___,                            Respectfully Submitted,
           18
                                                              ASIAN AMERICANS ADVANCING JUSTICE –
           19                                                 ASIAN LAW CAUCUS
           20
                                                                  S FEINBERG LEE & JACKSON,
                                                              LEWIS                JAC      PC
           21
                                                              By: ___________________________
           22                                                       Winifred Kao
                                                                    Gina Szeto
           23
                                                                    Catha Worthman
           24
                                                              Counsel for Creditors Juliet Delos Reyes, Nilo
           25                                                 Delos Reyes, Mercy Pineda, Julito Pineda,
                                                              Gabriel Roque, Nerissa Roque, Henry Alsisto,
           26
                                                              Esther Alsisto, Cherilyn Linguete, Ronald
           27                                                 Linguete, and Yolanda Austriaco

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